 

   

| FD FILED
YA Pacem Peau | STATES DISTRICT COURT FOR THE

eae Se DISTRICT OF WEST VIRGINIA Nay — 10?
CHARLESTON GRAND JURY 2022 3
MAY 3, 2022 SESSION
AOAY |. PERS i. CLERK
JS. Distner Gaunt

Southen. vismict of Wes, Virginia

UNITED STATES OF AMERICA

v. CRIMINAL NO. 2, 22—crecee Gg 7
18 U.S.C. § 922(g) (1)
18 U.S.C. § 924(a) (2)
18 U.S.C. § 922 (k)
18 U.S.C. § 924(a) (1) (B)

 

RANDY PRICE
INDICTMENT
The Grand Jury Charges:
COUNT ONE

1. On or about July 16, 2019, at or near Charleston, Kanawha
County, West Virginia, and within the Southern District of West
Virginia, defendant RANDY PRICE did knowingly possess a loaded
firearm, that is, a .25 caliber Raven Arms MP-25 pistol, in and
affecting interstate commerce.

Diss At the time RANDY PRICE possessed the aforesaid firearm,
he knew he had been convicted of the following crimes, each of
which was punishable by imprisonment for a term exceeding one year,
as defined in 18 U.S.C. § 921(a) (20), that is:

a. Convicted on or about June 28, 2002, in the Court of
Common Pleas, Cuyahoga County, Ohio, Case No. CR-0O1-
417799-ZA, for the felony offense of involuntary
manslaughter in violation of R.C. 2903.04(A), of the
State of Ohio; and

Bs Convicted on or about June 28, 2002, in the Court of
Common Pleas, Cuyahoga County, Ohio, Case No. CR-O1-

417799-ZA, for the felony offense of aggravated robbery,
in violation of R.C. 2911.01, of the State of Ohio.

 

 
In violation of Titie 18, United States Code, Sections

922(g) (1) and 924 (a) (2).
COUNT TWO

1. On or about July 16, 2919, at or near Charleston, Kanawha
County, West Virginia, and within the Southern District of West
Virginia, defendant RANDY PRICE did knowingly possess a loaded
firearm, that is, a .25 caliber Raven Arms MP-25 pistol, which had
the manufacturer’s serial number removed, obliterated, and
altered, and which firearm had been shipped and transported in
interstate commerce at any time.

a. At the time defendant RANDY PRICE possessed the
aforesaid firearm, he knew the manufacturer’s serial number had
been removed, obliterated, and altered.

in viclation of Title 18, United States Code, Sections 922 (k)

and 924(a) (1) (B).
NOTICE OF FORFEITURE

 

In accordance with 28 #4U«.S.C. § 2461(c), 18 U.S.C.
§ 924(d) (1), and Rule 32.2(a) of the Federal Rules of Criminal
Procedure and premised upon the conviction of defendant RANDY
PRICE of a violation of 18 U.S.C. § 922(g) (1), § 924(a) (2), §
922(k), and § 924(a)(1)(B), as set forth in this Indictment,
defendant RANDY PRICE shall forfeit to the United States any
firearms and ammunition involved in or used in such firearm
offenses, including, but not limited to a .25 caliber Raven Arms
MP-25 pistol, with an obliterated serial number, and related
ammunition which was seized by law enforcement on or about July

16, 2019.

WILLIAM S. THOMPSON
"Wan States Attoyney

By:

 

Wen . |KORDESTANT
Assistant United States Attorney
